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                                            :   UNITED STATES BANKRUPTCY COURT
 In the Matter of:                          :   FOR THE DISTRICT OF NEW JERSEY
                                            :   HONORABLE GLORIA M. BURNS
 SHAPES/ARCH HOLDINGS, L.L.C., et           :   CASE NO. 08-14631(GMB)
 al.,                                       :
                                            :              (Jointly Administered)
                        Debtors.            :
                                            :                  Chapter 11
                                            :
                                            :   HEARING DATE AND TIME:
                                                April 17 2008, 10:00 a.m.

                                                ORAL ARGUMENT REQUESTED

  OBJECTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
   ENTRY OF FINAL ORDER AUTHORIZING THE DEBTORS TO OBTAIN POST-
  PETITION FINANCING FROM ARCUS ASI FUNDING, LLC AND ARCUS ASI, INC.

 TO:      HONORABLE GLORIA M. BURNS
          United States Bankruptcy Judge



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          The Official Committee of Unsecured Creditors (the “Committee”) of Shapes/Arch

 Holdings L.L.C. (“Shapes/Arch”), Shapes L.L.C., Delair, L.L.C., Accu-Weld, L.L.C., and Ultra

 L.L.C., the within debtors and debtors-in-possession (each a “Debtor” and, together, the

 “Debtors”),1 by and through its proposed attorneys, objects to the Debtors’ Verified Motion for

 Entry of a Final Order (i) Authorizing and Approving Postpetition Financing; (ii) Granting Liens

 and Security Interest and Providing Superpriority Administrative Expense Status; and (iii)

 Modifying Automatic Stay Pursuant to Sections 105, 362, 363, and 364 of the Bankruptcy Code

 and Federal Rules of Bankruptcy Procedure 2002 and 4001(c) and (d) (the “Motion”), and

 respectfully represents as follows:

                                  I. PRELIMINARY STATEMENT

          1.       By virtue of exclusive pre-petition negotiations among the Debtors, The CIT

 Group/Business Credit, Inc., as agent for itself and for JP Morgan Chase Bank, N.A. and Textron

 Financial Corporation (“CIT”), and Arcus ASI Funding, LLC and Arcus ASI, Inc. (collectively,

 “Arcus”), affiliates of Versa Capital Management, Inc. (“Versa”), the Debtors and Arcus have

 devised an extraordinarily fast-paced and highly prejudicial program to deliver to Arcus a “free

 and clear” sale of assets and ownership of viable companies through questionable debtor-in-

 possession financing terms and a defective plan process, both of which expose the Debtors’ and

 others’ breach of their fiduciary duty to creditors. The Motion and Disclosure Statement and

 Plan of Reorganization filed on the same day reveal that these cases were commenced and are

 being manipulated solely for the benefit of Arcus, and contemplate virtually no distribution to

 unsecured creditors. Moreover, one the eve of the Debtors’ bankruptcy filings and in furtherance

 of the goal of conveying the companies to Arcus without ever exposing either the DIP financing

          1
              Shapes/Arch is a holding company that owns each of the other operating Debtors.



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 terms or the Debtors’ assets to the market, the Debtors incredibly ceded control of Debtor

 Arch/Shapes to Arcus for unknown consideration, thereby rendering Arcus an “insider” of the

 Debtors.2

          2.       If the proposed DIP financing is approved in its current form, the Debtors and

 Arcus will have “locked up” the sale of the Debtors to Arcus through a closed, non-competitive

 process that failed to test the asset values in the marketplace or allowed any other party to outbid

 Arcus and provide a much more meaningful dividend to unsecured creditors. The Debtors’ and

 Arcus’ scheme is highly prejudicial to unsecured creditors and constitutes heresy.

          3.       As evidenced by the objection of Arch Acquisition I, LLC (“Arch”) to the Motion

 [Docket No. 81] and by expressions of interest of at least two entities besides Arch, there are

 parties interested in providing replacement DIP financing on more favorable terms than Arcus

 and bidding on the Debtors’ assets in amounts that will yield a greater recovery than what is

 presently offered to unsecured creditors.3 Yet instead of implementing a process that will allow


          2
          The Debtors NEVER disclosed to the Court in their “first day” submissions or
 testimony when the issue of handing over control to Versa first was discussed. The Debtors
 owed this Court the duty of candor to advise that, presumably, the Debtors’ management was
 negotiating a DIP facility and sale of the company to the very lender/buyer to which it had
 already agreed to give control and work for. Discovery on this issue is necessary to determine
 how misleading the Debtors were in obtaining the interim financing orders from this Court, and
 the Committee reserves all its rights with respect to those orders.
          3
          Arch is an affiliate of Signature Aluminum, a portfolio company of H.I.G. Capital. On
 April 7, 2008, Arch submitted to the Debtors and the Committee a proposed Asset Purchase
 Agreement for the purchase of substantially all the Debtors’ assets. At the Committee’s
 suggestion to facilitate an “apples to apples” comparison of the Arcus and Arch proposals, on
 Saturday, April 12, 2008, Arch submitted a redlined version of a Joint Plan of Reorganization
 which contemplates Arch as the funder of a plan that significantly improves unsecured creditor
 recoveries. In addition, on April 13, 2008, Arch submitted a written Debtor-in-Possession Term
 Loan Agreement to the Debtors and Committee, the proceeds of which would be used to take out
 Arcus and provide the Debtors with financing on much more favorable terms, as more
 particularly described below. Pursuant to the Arch DIP loan and plan of reorganization
 proposals, it is contemplated that the Debtors will effectuate a competitive process for the “sale”
 (continued…)

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 those parties to move forward, the Debtors, under the control of Arcus, arrogantly have chosen to

 embark on a “speed of lightening” track which provides a phantom 2% dividend to unsecured

 creditors and is unacceptable to the Committee. This so-called “process” must be stopped.

 Rather than approve terms of a DIP facility that are extremely prejudicial to the unsecured

 creditors and entrench Versa/Arcus as the presumptive owner of the Debtors’ businesses for

 questionable consideration, the Court should, as the Bankruptcy Code requires, expose the

 process to a competitive environment for maximizing value and assuring the Committee of a

 meaningful seat at the bargaining table. Only through such a competitive and inclusive process –

 as mandated by Chapter 11 - can the true value of the Debtors’ businesses be tested and

 maximum value realized for the benefit of all creditors.

                                   II. FACTUAL BACKGROUND

          4.       On March 16, 2006 (the “Filing Date”), the Debtors each filed voluntary petitions

 for relief pursuant to Chapter 11 of Title 11, United States Code (the “Bankruptcy Code”). Since

 the Filing Date, the Debtors have remained in possession of their assets and continued in the

 management of their businesses as debtors-in-possession pursuant to Sections 1107 and 1108 of

 the Bankruptcy Code.




 (…continued)
 of their assets in the context of a plan of reorganization. Incredibly, to date, the Debtors have not
 responded to Arch’s proposals, nor provided any due diligence materials requested by Arch in
 connection with their DIP financing proposal. The Debtors erroneously have posited that the
 Arcus DIP Loan Agreement and Interim DIP Order preclude the Debtors from considering the
 Arch proposal, but that contention cannot be farther from the truth. In fact, the Arcus DIP Loan
 Agreement squarely contemplates the Debtors’ ability to seek and obtain replacement DIP
 financing, and only imposes on the Debtors to provide Arcus with a “right of first refusal.” See
 Arcus DIP Loan Agreement, § 8.23. The Debtors’ blatant refusal to consider the Arch proposal
 further underscores the utter abrogation of their fiduciary duties, and Arcus’ complicity thereto.



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          5.       On March 31, 2008, the Office of the United States Trustee for the District of

 New Jersey appointed a nine (9)-member creditors’ committee.

          6.       The Debtors estimate that the principal amount of their pre-petition indebtedness

 to CIT totals approximately $59.62 million as of the Filing Date: The Debtors also believe that

 they have approximately $31 million in trade debt.

          7.       According to the Debtors, before the Filing Date, they encountered a severe

 liquidity crisis which CIT was unwilling to fund pursuant to an overadvance.4 As a result, they

 turned to Versa, a hedge fund based in Philadelphia and known to the Debtors’ management, to

 discuss Versa’s interest in providing financing for the Debtors’ business and operations.5 In

 exchange for a commitment from Arcus, a Versa affiliate, to lend $25,000,000 to the Debtors

 during a chapter 11 proceeding, a very small part of which would be converted to equity upon

 emergence from bankruptcy, Arcus became managers of Shapes/Arch with 79.9% of the voting

 rights. At the time the Debtors negotiated the DIP financing with Arcus, they knew that Arcus

 would condition the loan on gaining control of the Debtors. The Committee doubts whether

 those negotiations took place at arms’-length and in good faith, and will insist that those

          4
          The Committee and its professionals have not yet had an opportunity to ascertain
 exactly when the Debtors began encountering financial difficulties. The Debtors testified at the
 “First Day” hearings that the cash “crunch” that caused them to engage in discussions with Versa
 and commence these Chapter 11 proceedings did not occur until some time in the beginning of
 2008. A preliminary review of the Debtors’ financial affairs by the Committee’s financial
 advisors suggests, however, that the Debtors commenced experiencing financial difficulties long
 before that time.
          5
           On or about February 6, 2008, the Debtors signed a non-binding expression of interest
 with Versa, agreeing to deal exclusively with Versa for 60 days in connection with Versa’s
 interest in providing financing to the Debtors in an out-of-court restructuring context. It is
 unclear how the Versa expression of interest transformed into the transaction presented to the
 Court today because the Debtors have failed to respond to the Committee’s Rule 2004 Subpoena
 seeking information on that very issue. At the Final Hearing, the Debtors should be required to
 reveal comprehensively all the facts and circumstances surrounding those negotiations.



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 elements of debtor-in-possession financing approval be the subject of discovery and, ultimately,

 rigorous proofs at the final hearing on the Motion (the “Final Hearing”).

          8.       On the Filing Date, the Debtors filed various “first day” motions, a Disclosure

 Statement and Plan of Reorganization pursuant to which Arcus serves as the plan funder (the

 “Debtors/Arcus Plan”). Notably, the Debtors did not file the so-called “Plan Supplement”

 which, according to the Plan, contains the documents related to the proposed exit financing with

 Arcus and other critical documents relating to the Plan and the Debtors’ emergence from Chapter

 11.6 On March 18, 2008, the Court entered two Orders – one each for the CIT and Arcus DIP

 loans- granting interim approval of the DIP Financing Motion (the “Interim DIP Orders”). Since

 then, the Court has entered Bridge Orders extending the DIP financing approved in the Interim

 DIP Orders to the new hearing date of April 17, 2008.

          9.       Pursuant to the Interim DIP Orders, the Debtors were authorized to, among other

 things, (a) immediately “roll up” approximately $60 million of pre-petition debt to CIT into post-

 petition indebtedness; (b) borrow from Arcus up to a total principal amount of $25 million,

 approximately one-half of which would be used to pay down the pre-petition term loan and

 overadvance to CIT; (c) grant liens and super-priority claims on all assets of the Debtors, with

 the expectation that in the Final Orders granting the Motion, such liens and super-priority claims




          6
          The Debtors, in fact, did not file their Plan Supplement until the afternoon of April 15,
 2008, almost one month after the Filing Date, after the general deadline to file objections to the
 disclosure statement and while the Committee’s counsel was attending a meeting with the
 Debtors and Versa. This is especially egregious when Debtors’ counsel represented at the
 Creditors’ Committee formation meeting on March 31, 2008 that the Plan Supplement and an
 Amended Disclosure Statement and Plan would be filed “shortly.” The Debtors and Arcus
 cannot possibly expect the Court, the Committee or other parties-in-interest to have adequately
 digested the voluminous information before the April 17, 2008 Final Hearing.



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 would extend to avoidance actions and all other claims and causes of action of the Debtors and

 their estates.

                        II. RELIEF REQUESTED AND BASIS THEREFOR

          10.      The Debtors, presumably at the direction of Arcus, their manager/lender/buyer,

 have submitted to this Court a proposed DIP financing order and Debtor-in-Possession Term

 Loan Financing Agreement with Arcus (the “Arcus DIP Loan Agreement”) that violate every

 conceivable notion of fairness and due process, and, in a flagrant breach of fiduciary duty, “lock-

 up” the sale of the Debtors to the exclusion of legitimate third parties interested in and willing to

 fund a plan of reorganization on terms much better than those to which the Debtors agreed before

 the Filing Date. For the reasons set forth herein, as well as in the Committee’s objection to the

 Disclosure Statement filed on the date hereof (the “Disclosure Statement Objection”), the

 proposed DIP financing with Arcus should not be approved in its current form. While the

 Committee is mindful of the Debtors’ financial condition and cash needs, it appears that Arcus

 extorted considerable protections and unfair advantage for itself and left the unsecured creditors

 with nothing more than a de minimus, almost illusory distribution. Arcus has elected to force

 this hideous process down the throat of the Court and stakeholders on the threat that if approval

 is not granted 1,000 jobs will be lost. What Arcus never contemplated was the fact that the (i)

 Court cannot ignore the mandate of the Bankruptcy Code and binding Third Circuit authority

 requiring that fair value for a debtor’s assets be achieved, see In re Abbotts Dairies of

 Pennsylvania, Inc., 788 F.2d 143, 149-50 (3d Cir. 1986) (interpreted Section 363(b) of the

 Bankruptcy Code to require a finding by the Bankruptcy Court that the acquirer of a debtor’s

 assets be a good faith purchaser and construing the “good faith purchaser” standard to mean one

 who purchases “in good faith” and for “value”), and (ii) unsecured creditors, unlike the Debtors,

 will not abandon their fiduciary duties. Arcus also underestimated the Court’s ability to insist

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 upon the continuation of the DIP financing and implementation of an orderly sale process - all

 while preserving the 1,000 jobs.

        The Proposed DIP Financing Does Not Satisfy the Standards of Section 364 of the
            Bankruptcy Code and Is Not in the Best Interests of the Debtors’ Estates

          11.      Section 364 of the Bankruptcy Code governs a debtor’s ability to obtain post-

 petition credit and provides, in pertinent part, as follows:

                   (c)    If the trustee [debtor-in-possession] is unable to obtain
                   unsecured credit allowable under section 503(b)(1) of this title as
                   an administrative expense, the court, after notice and a hearing,
                   may authorize the obtaining of credit or the incurring of debt --

                           (1)    with priority over any or all administrative expenses
                   of the kind specified in section 503(b) or 507(b) of this title;

                          (2)    secured by a lien on property of the estate that is not
                   otherwise subject to a lien; or

                            (3)     secured by a junior lien on property of the estate
                   that is subject to a lien.

                   (d)     (1)     The Court, after notice and a hearing, may authorize
                   the obtaining of credit or the incurring of debt secured by a senior
                   or equal lien on property of the estate that is subject to a lien only
                   if –

                                    (A)     the trustee is unable to obtain such credit
                   otherwise; and

                                   (B)     there is adequate protection of the interest of
                   the holder of the lien on the property of the estate on which such
                   senior or equal lien is proposed to be granted.

 11 U.S.C. § 364(c) and (d).

          12.      Generally, the factors to be considered in connection with a request for approval

 of debtor-in-possession financing include:

                   1)     That the proposed financing is an exercise of sound and
                   reasonable business judgment;

                   2)      That the financing is in the best interests of the estate and
                   its creditors;

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                   3)      That the credit transaction is necessary to preserve the
                   assets of the estate, and is necessary, essential, and appropriate for
                   the continued operation of the Debtors’ businesses;

                   4)     That the terms of the transaction are fair, reasonable, and
                   adequate, given the circumstances of the debtor-borrower and the
                   proposed lender; and

                   5)      That the financing agreement was negotiated in good faith
                   and at arm’s length between the Debtors, on the one hand, and the
                   … Lenders, on the other hand.

 In re Mid-State Raceway, Inc., 323 B.R. 40, 60 (Bankr. N.D.N.Y. 2005) (citing In re Farmland

 Indus., Inc., 294 B.R. 855, 881 (Bankr. W.D. Mo. 2003)).

          13.      The Arcus DIP financing fails on multiple grounds. First, the Motion is

 disconcertingly silent and the testimony at the “first day” hearings insufficient on the Debtors’

 efforts to solicit alternative debtor-in-possession financing.7 Mr. Vincent Collistra of Phoenix

 Management Services, Inc. testified that he approached “probably the four largest lending

 institutions, that we have done business with in the past…” See Transcript of March 18, 2008

 hearings (“Tr.”), page 98, lines 18-20 (attached hereto as Exhibit A). Mr. Collistra did not

 identify, however, who those lending institutions were, nor did he testify as to whether a loan of

 this nature should have been “shopped” to a non-traditional lending source (like Versa, their

 lender of choice).

          14.      Although case law does not impose a duty to seek credit from every possible

 lender, some effort on the debtor’s part is required. See In re Reading Tube Indus., 72 B.R. 329

          7
          In that regard, on April 4, 2008, the Committee served the Debtors with a Rule 2004
 Subpoena requesting the production of numerous documents relating to the relief requested in
 the Motion, including the efforts the Debtors made before the Filing Date to solicit other debtor-
 in-possession financing. On April 11, 2008, the Debtors produced a handful of documents
 presumably in response to this particular request, none of which directly address the specific
 allegation that the Debtors sought but could not procure DIP financing on terms better than those
 offered by Arcus.



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 (Bankr. E.D. Pa. 1987). Proof of an actual credit search is required, not simply a presumption

 that more favorable credit is unavailable. In re Secured Storage Systems II, 1992 WL 109064

 (Bankr. E.D. Pa. 1992). The Debtors nakedly contend in the Motion that they are “unable to

 obtain credit for borrowed money without the Debtors granting: (a) to the DIP Lenders [Arcus

 and CIT], liens on all of the assets of the Debtors pursuant to sections 364(c)(2), 364(c)(3), and

 364(d) of the Bankruptcy Code; and (b) to the DIP Lenders superpriority administrative expense

 claim status as provided in section 364(c)(1) of the Bankruptcy Code, over any and all

 administrative expenses of the kind specified in sections 503(b) and 507(b) of the Bankruptcy

 Code, other than as set forth in the Interim Order.” See Motion, ¶ 40. Such a conclusory

 assertion does not come close to satisfying the requirements of the case law and the Bankruptcy

 Code, and given the written proposal from Arch, appears to be inaccurate. Even if the Debtors

 legitimately were unsuccessful in their pre-petition search for better DIP financing terms, they

 now have been presented with a more favorable offer that they have a fiduciary obligation to

 pursue, and certainly not altogether ignore.

          15.      Second, the Debtors have presented no credible evidence that the proposed DIP

 financing is an exercise of sound and reasonable business judgment, that the financing is in the

 best interests of the Debtors’ estates and creditors or that the terms of the transaction are fair,

 reasonable and adequate. Indeed, the DIP financing transaction with Arcus requires greater

 scrutiny because, as manager of Shapes/Arch with 79.9% of the voting rights, Arcus is an

 “insider” of the Debtors within the meaning of §101(31) of the Bankruptcy Code. Moreover,

 because the proposed financing is the mechanism for Arcus ultimately to receive complete

 ownership and/or control over the Debtors for consideration the Debtors have not shown to be




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 adequate - essentially making any other plan funder or purchaser an impossibility - the Debtors

 should be held to a higher burden of proof in seeking approval of the DIP financing with Arcus.8

          16.      The proposed DIP financing arrangement and proposed Plan manifest that Arcus,

 in its role as both manager and lender of the Debtors, seeks to control the Debtors and the

 bankruptcy process for its sole benefit and circumvent the mandates of the Bankruptcy Code by

 effectively disenfranchising the unsecured creditors and other parties in interest. Thus, the

 Motion should be denied absent more transparency regarding the bona fides and merits of the

 transactions, the value of the Debtors’ assets and more protections of the interests of the

 unsecured creditors. See, e.g., In re Tenney Village Co., Inc., 104 B.R. 562, 568 (Bankr. D.N.H.

 1989) (denying motion to approve post-petition financing agreement where agreement “would

 pervert the reorganizational process from one designed to accommodate all classes of creditors

 and equity interests to one specially crafted for the benefit of the Bank”); In re Ames Department

 Stores, Inc., 115 B.R. 34, 38-39 (Bankr. S.D.N.Y. 1990) (a proposed financing will not be

 approved where its apparent purpose is to benefit a creditor rather than the estate; absent

 protections, including a carve-out for creditors’ committee counsel, the bankruptcy case would

 be skewed, the adversary process destroyed and the collective rights and expectations of all

 parties in interest sorely prejudiced); In re Plabell Rubber Prod., Inc., 137 B.R. 897

 (Bankr.N.D.Ohio. 1992).

          17.      In addition, because the Debtors and Arcus have not demonstrated that Arcus

 extended credit in good faith, it is not entitled to the protections of a good faith lender under

 Section 364(e) of the Bankruptcy Code. That statute provides that:
          8
          The Committee has not ruled out the filing of a motion for the appointment of a Chapter
 11 Trustee or other fiduciary given the Debtors’ decision to turn over the “keys to the car” to a
 secured lender/buyer.



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                   "[t]he reversal or modification on appeal of an authorization under
                   this section to obtain credit or incur debt, or of a grant under this
                   section of a priority or lien, does not affect the validity of any debt
                   so incurred, or any priority or lien so granted, to an entity that
                   extended such credit in good faith, whether or not such entity knew
                   of the pendency of the appeal, unless such authorization and the
                   incurring of such debt, or the granting of such priority or lien, were
                   stayed pending appeal.

          18.      An express finding of good faith is required before the protections of Section

 364(e) are applicable. In re Revco D.S., Inc., 901 F.2d 1359 (6th Cir. 1990) The Bankruptcy

 Code, however, does not define good faith. The concept of good faith is derived from former

 Bankruptcy Rule 805. 3 Collier on Bankruptcy ¶ 364.06[2] (15th Ed. Revised 2007) (citing In re

 Suchy, 786 F.2d 900 (9th Cir. 1985) (good faith requirement under Rule 805 speaks to integrity

 of the parties’ conduct during the course of the proceeding)). Factors such as the parties’

 subjective beliefs that the financing agreement was negotiated at arms’-length and that the

 financing would be in the best interest of the estate and its creditors are considered in connection

 with a good faith finding. See, e.g., In re Cooper Commons, LLC, 430 F.3d 1215, 1220 (9th Cir.

 2005). Significantly, a DIP lender fails to act in good faith where it acts with an ulterior,

 economically “interested” purpose. See In the Matter of EDC Holding Company, 676 F.2d 945,

 949 (7th Cir. 1982) (holding that the DIP lender was not a disinterested lender but a settling

 litigant that saw an opportunity to reduce the cost of settlement). Given the fact that the Debtors

 agreed to turn over control to Versa, who is acting as the lender/buyer/fiduciary of the Debtors,

 this Court cannot make a finding of good faith without allowing the Committee to conduct

 discovery as to who was responsible for orchestrating this destructive process.

    Liens in Avoidance Actions and All Other Claims and Causes of Action are Inappropriate

          19.      By the Motion, the Debtors seek to grant to Arcus on a final basis liens and super-

 priority administrative expense claims on “all claims, rights, interests, assets and properties” of


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 the Debtors, including all avoidance actions under Chapter 5 of the Bankruptcy Code and

 proceeds therefrom (collectively, the “Unencumbered Assets”). The Arcus DIP facility provides

 no seeming benefit to the unsecured creditors and is intended solely to ensure the sale of the

 companies to Arcus for questionable consideration and negligible benefit to the unsecured

 creditors. It is, therefore, completely inequitable and unjustified for the Debtors to grant Arcus a

 lien or superpriority administrative expense claim on the Unencumbered Assets. It is well

 established that avoidance actions are designed to ensure equality of payment among unsecured

 creditors; they should not be used to improve the position of secured creditors. See, e.g., In re

 Qualtech Steel Corp., 276 F.3d 245, 248 (7th Cir. 2001); Mellon Bank v. Glick, 69 B.R. 901, 905

 (D.N.J. 1987) (even if security interest attached to preference action, allowing secured creditor

 the right to recovery would “frustrate the policy of equal treatment of creditors under the Code

 and would contradict the plain meaning of section 551 of the Bankruptcy Code”). Because

 avoidance actions and other claims the Debtors’ estates might have properly belong to, and

 should be preserved for, the estates’ creditors, they should be carved-out specifically from the

 Arcus’ collateral.9 By way of stark contrast, Arch has not insisted on a lien or super-priority

 administrative expense claim on the Unencumbered Assets.




          9
          The absurdity of Arcus’ overreaching request with respect to the Unencumbered Assets
 and Debtors’ acquiescence thereto is underscored by the Debtors’ liquidation analysis, included
 as Exhibit F to the Plan Supplement, stating that the Debtors estimate they have made in excess
 of $50 million in payments during the 90-day period preceding the Filing Date. The Debtors
 then inexplicably assign only a 5% recovery to those payments, for a total amount of
 approximately $2.54 million. Even assuming the Debtors’ bleak estimates are reasonable, the
 potential non-insider avoidance recoveries completely overshadow the offensive $500,000.00
 offered to creditors under the Debtors’ “tricked-up” Plan. In addition, based on the Committee’s
 financial advisor’s preliminary analysis, there may be substantial avoidance causes of action
 against the Debtors’ insiders. Moreover, given the Committee’s recent appointment, it has not
 yet had an opportunity to evaluate whether there might be other causes of action that should be
 (continued…)

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                             The Waiver of Section 506(c) Is Unwarranted

          20.      Section 506(c) of the Bankruptcy Code provides that a debtor may charge a

 secured creditor’s collateral for the reasonable and necessary costs and expenses of preserving or

 disposing of such collateral to the extent of any benefit to the secured creditor. 11 U.S.C.

 §506(c). The Debtors have agreed to a waiver of all Section 506(c) rights against Arcus. This

 Court should not approve such 506(c) waiver on a final basis because a wholesale waiver of

 surcharge rights is inappropriate in these cases where the process is being run precisely for the

 exclusive benefit of Arcus, at great expense to unsecured creditors.

          21.      In a typical Chapter 11 case, a carve-out from a proposed DIP lenders’ collateral

 is provided for professional fees as a quid pro quo for the estates’ waiver of Section 506(c)

 surcharge rights. Here, however, the “carve-out” referred to in the Arcus DIP Order is not a

 “true” carve-out, as the Arcus DIP Order provides that the “carve-out” is reduced as professional

 fees are paid until it finally disappears. Rather, there appears to be only a line item for

 professional fees in the Debtors’ budget (substantially skewed in favor of the Debtors’

 professionals) with absolutely no protection for the estates to satisfy that administrative expense

 liability.10




 (…continued)
 pursued, and the Debtors have been remiss in responding to the Committee’s request for a copy
 of any directors & officers insurance policy.
          10
           In addition, the proposed $25,000.00 line item in the budget for professional fees to
 investigate any potential claims against CIT is wholly inadequate and should be increased to
 $100,000.00. Not only does the Committee need to review the extent, validity and priority of
 CIT’s liens, but given CIT’s insistence that it be given a broad release of all claims and causes of
 action in advance of plan confirmation, a much more exhaustive and intensive investigation is
 required.



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          22.      Likewise, the Arcus DIP Order is silent on and provides no carve-out for

 budgeted items that are not timely paid, raising the risk that if Arcus calls a default, these estates

 will be left with numerous unpaid bills and no unencumbered assets from which to pay them. In

 short, the “carve-out” is illusory, and in the case of a trailing carve-out for budgeted operating

 expenses, non-existent, and does not warrant a Section 506(c) waiver.

                          The Releases Are Overly Broad and Inappropriate

          23.      The Arcus DIP Order provides, and by the Motion the Debtors seek, on a final

 basis authority to provide a general release to Arcus as well as their “respective affiliates,

 officers, directors, agents and attorneys.” In the first instance, such a broad release is

 inappropriate in the context of approving DIP financing. The proposed releases are especially

 offensive here, where Arcus is in complete control of the Debtors, and the Committee believes it

 has viable causes of action against Versa for breach of fiduciary duty, aiding and abetting breach

 of fiduciary duty and fraudulent transfers, all as more particularly described herein and in the

 Disclosure Statement Objection. See, e.g., In re Scott Acquisition Corp., 344 B.R. 283 (Bankr.

 D. Del. 2006) (properly stating claims for breach of fiduciary duty and aiding and abetting

 breach of fiduciary duty in connection with the sale and lease back transaction of real property to

 an insider and an insider loan while in the zone of insolvency without soliciting or considering

 third party offers); In re Mid-Am. Waste Systems, Inc., 284 B.R. 53, 70 (Bankr. D. Del. 2002)

 ("To qualify as inequitable conduct the insider or fiduciary credit must have actually used its

 power to control the debtor or its position of trust with the debtor to its own advantage or to the

 other creditors' detriment."); In re High Strength Steel, Inc., 269 B.R. 560, 569 (Bankr. D. Del.

 2001) (once a corporation becomes insolvent, its officers and directors owe unsecured creditors a

 fiduciary duty including maximizing value of assets for payment of unsecured creditors)

 (citations omitted).

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          24.       If full releases are warranted at the end of the day, which the Committee does not

 believe is the case, they could be given pursuant to a confirmed plan of reorganization. In

 addition, given the Debtors have released Arcus from any claims they might have, it goes

 without saying that the Final Arcus DIP Order should confer standing on the Committee to

 pursue any and all claims and causes of action against Arcus.

      The Arcus DIP Facility is Extremely Expensive; Arch Willing to Reduce or Altogether
                                    Eliminate Excessive Fees

          25.       The Arcus DIP financing is extremely expensive, calling into question the

 exercise of the Debtors’ fiduciary duties in agreeing to the exorbitant fees and whether the DIP

 facility was negotiated at arm’s length.11 For example, the “Commitment Fee” was two percent

 (2%), whereas Arch is willing to charge only a one and a half percent (1.5%) commitment fee,

 which would be waived if the commitment fee was already paid to Arcus.12 The Default Rate of

 Interest in the Arcus DIP Loan Agreement is three percent (3%) over the Applicable Margin and

 Base Rate. Arch is willing to reduce the three percent (3%) to two percent (2%). Arcus is

 charging the Debtors a Termination Fee of two percent (2%), whereas Arch has agreed to waive

 that fee. Finally, the Arcus Loan Agreement (§ 9.8) provides for an agent/facility fee equal to

 $40,000 per month and a collateral monitoring and servicing fee equal to $40,000 per month, for

 a total of $80,000 per month payable to Arcus.13 Arch has agreed to waive those fees entirely.



          11
          Even Mr. Collistra admitted that the pricing of the Arcus DIP Facility is “a little in the
 high range.” See Tr., p. 100, line 13 (attached hereto as Exhibit B).
          12
           All capitalized terms used but not defined herein shall have the meanings ascribed to
 them in the Arcus DIP Loan Agreement.
          13
               It is totally unclear why pursuant to a term loan, a “collateral monitor fee” is even
 required.



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                        Certain Default Provisions Should Be Excised or Modified

          26.      The default provisions of the Arcus DIP Loan Agreement are inappropriately tied

 to the flawed plan confirmation process launched by the Debtors and Arcus. For example,

 pursuant to Section 11.1(w), the Debtors’ failure to confirm the Debtors/Arcus Plan by May 30,

 2008 and to substantially consummate the Plan by June 30, 2008 constitutes a default under the

 Arcus DIP Loan Agreement. Those dates, in the first instance, are unrealistic under the facts of

 these cases. More importantly, they woefully fail to address the need to open up the process to

 competitive bidding so that maximum value can be realized for creditors. The Debtors’

 agreement to such outrageous terms further underscores the need to exhaustively scrutinize the

 Debtors’ intentions and good faith. Importantly, these provisions have been deleted from the

 Arch DIP Financing proposal.

          27.      Additionally, under the Arcus DIP Loan Agreement (§11.1(k)), a default occurs if

 Steven S. Grabell ceases for any reason whatsoever to be the Chief Executive Officer and

 actively engaged in the management of the Debtors unless a successor acceptable to Arcus is

 appointed within ten (10) days. Given that a search for a competent CEO likely will take more

 than ten (10) days, and that Arcus’ acceptance of a successor CEO should not be unreasonably

 withheld, that provisions is particularly harsh and prejudicial.

          Multiple Other Provisions of the Interim Financing Order and Arcus DIP Loan
                  Agreement Are Unfair And Inequitable to Unsecured Creditors

          28.      Many other provisions of the Interim Financing Order and Arcus DIP Loan

 Agreement are patently unfair, disadvantageous to the Debtors and their estates and/or designed

 to bolster Arcus’ ability to call a default and gain full control of the Debtors, while denying

 unsecured creditors a meaningful participation in these cases. Those provisions should be denied

 on a final basis.


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          29.      In an effort to resolve these objectionable provisions, the Committee’s counsel

 sent a bullet-point memorandum to counsel for Arcus on April 4, 2008, to which no response

 was received.14 A summary of the additional material objections are as follows (and the

 Committee reserves its rights to highlight all the objectionable provisions at the Final Hearing):

                                            Arcus DIP Order

     •    Par 1.3.3 – Notice of material amendments to the DIP Loan Documents should be 5
          business days and the Committee should receive notice of any non-material objections.

     •    Par 3.4. - Notice of default should be 5 business days.

     •    Par 5.4 – The Debtors should have unfettered rights to bring sale motions before the court
          and Arcus has section 363(f) to protect it.

                                         Arcus DIP Loan Agreement

     •    Maturity Date. The Debtors should have the ability to extend the maturity date of
          September 16, 2008 for an additional 90 days if there is no default, especially if it appears
          that the confirmation of a plan of reorganization is imminent.

     •    Budget Variance. The budget variance covenants are unrealistic, based on the
          Committee’s financial advisor’s preliminary assessment.

     •    EBITDA Targets. The EBITDA targets during 2008 do not appear achievable, based on
          the Committee’s financial advisor’s preliminary assessment.

     •    Audits. There is no need to provide audited balance sheets or financial statement to
          Arcus during the short term of the Arcus DIP facility.

     •    Review of Legal Fees. Arcus should agree to a mechanism whereby its attorneys’ fees
          and costs are subject to review and objection by the Committee and United States
          Trustee.

     •    Right of First Refusal Should be Deleted. The right of first refusal on replacement
          debtor-in-possession financing contained in the Arcus DIP Loan Agreement is not
          enforceable and should be excised. Bankruptcy Courts have invalidated “rights of first
          refusal” because of the chilling effect such first refusal rights have on sales. See, e.g., In

          14
           It should be noted that a brief meeting took place among the Debtors, Arcus and the
 Committee on April 15, 2008, which resulted in absolutely no concessions by the Debtors or
 Arcus to the Committee’s serious concerns with the Arcus DIP financing.



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          re Mr. Grocer, Inc., 77 B.R. 349 (D.N.H. 1987); In re Adelphia Communications Corp.,
          359 B.R. 65, 86 (Bankr. S.D.N.Y. 2007) (“the rights of first refusal ‘thwart the
          fundamental policy of maximizing estate assets for the benefit of all creditors,’ and thus
          are unenforceable”); In re Rancourt, 153 B.R. 380 (D.N.H. 1993); Ramco-Gershon
          Properties L.P. v. Serv. Merchandise Co., 293 B.R. 169 (M.D.Tenn, 2003); Weaver v.
          Gould, 1191 WL 423972 (N.D.Ind. 1991), aff’d on other grounds, 977 F.2d 1038 (7th Cir.
          1992)(right of first refusal’s potential chilling effect on potential buyers was burdensome
          to debtor).

                                            CONCLUSION

          30.      For all the reasons set forth herein, including most significantly the Committee’s

 serious concern that the chapter 11 process has been hijacked by Arcus, the Committee

 respectfully requests that the Court: (i) deny the Motion as to Arcus be on a final basis unless the

 proposed Final DIP Order is modified to resolve the issues outlined above and (ii) grant such

 other relief as the Court deems just and appropriate under the circumstances.

                                                     Respectfully submitted,

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                                                     FORMAN & LEONARD, P.A.
                                                     Proposed Co-Counsel to the Official Committee
                                                     of Unsecured Creditors of Shapes/Arch
                                                     Holdings L.L.C., et al.


                                                     By:     /s/ Michael D. Sirota
                                                            Michael D. Sirota
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                                                            Warren A. Usatine
 DATED: April 16, 2008




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